Exhibit D
 1
     NEALE & FHIMA APC
 2   AARON D. FHIMA,ESQ.(SBN 296408)
     aaron@nealefhima.corn                                    E-FI LED
 3   TATE C. CASEY,ESQ.(SBN 295294)                           4/28/2022 3:54 PM
     tatecasey@nealefhima.com                                 Superior Court of California
     34188 Pacific Coast Highway                              County of Fresno
4
     Dana Point, CA 92629                                     By: I. Herrera, Deputy
 5   Telephone:(949)661-1007
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 6
   Attorneys for Plaintiff,
 7 KANWAR    MAHAL

 8
                    IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                         COUNTY OF FRESNO
10

11
                                                                22CECG01302
                                                    Case No.:
12 KANVVAR MAHAL,an individual,

13         Plaintiff,                               COMPLAINT FOR VIOLATION OF THE
                                                    SONG-BEVERLY CONSUMER
                                                    WARRANTY ACT
14             V.
15
   TESLA MOTORS,INC., a corporation,
16 and DOES 1 to 10, inclusive,

17         Defendants.

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20   Plaintiff, ICANWAR MAHAL ("Plaintiff'), alleges a cause of action against Defendant, TESLA

21   MOTORS,INC.("Defendant"), as follows:

22       1. Plaintiff is, and at all times mentioned herein was, a competent adult.

23      2. Plaintiff is informed and believes and thereupon alleges that Defendant is a corporation that

24   does business throughout the state of California.

25      3. The true names and capacities of Defendant DOES 1 TO 10,INCLUSIVE,

26   whether individual, corporate, associate or otherwise, are unknown to Plaintiff-at the time of the

27   filing of this Complaint, and Plaintiff therefore sues said Defendants by such fictitious names and

28   will ask leave of court to amend this Complaint to show said Defendants true names and capacities

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              COMPLAINT FOR VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
 1   when the same have been ascertained. Plaintiff is informed and believes and thereupon alleges

 2   that each of the Defendants designated as a Doe is, in some manner, factually and legally

 3   responsible for the events and happenings surrounding the incident as herein set forth and said

 4   Defendants thereby directly and proximately caused injury and harm to Plaintiff.

 5      4. On or about March 26, 2014, Plaintiff purchased a new 2014 Tesla Model S, VIN:

 6   5YJSA1H19EFP33973,("Subject Vehicle")from Defendant in California.

 7      5. Plaintiff is a "buyer" under the Song-Beverly Consumer Warranty Ave, Civil Code § 1790

 8   et seq.(the "Act").

 9      6. The Subject Vehicle is a new motor vehicle that was purchased primarily for personal,

10   family, or household purposes or it is a new motor vehicle with a gross vehicle weight under

11   10,000 pounds that was purchased or used primarily for business purposes by an entity to which
12   not more than five motor vehicles are registered in this state. The Subject Vehicle is a "new motor

13   vehicle" under the Act.

14      7. Defendant manufactures, assembles, or produces consumer goods. Defendant is a

15 "manufacturer" under the Act.

16      8. Defendant is engaged in the business of distributing or selling consumer goods at retail.

17      9. Upon Plaintiff's purchase of the Subject Vehicle, Defendant issued an express warranty to

18   Plaintiff, which Defendant undertook to preserve or maintain the utility or performance of the

19   Subject Vehicle.

20       10. Defendant's express warranty was integral to Plaintiff's purchase ofthe Subject Vehicle.

21       1 1. Since purchasing the Subject Vehicle, Plaintiff has delivered the Subject Vehicle for repair

22   to Defendant or its authorized repair facility(s) no less than three(3)times for repair of

23   nonconformity(s) to warranty, including, but not limited to defect(s) which have manifested in: a

24   buzzing/electric noise when driving at low speeds, illumination of"12v power low" warning light,

25   vehicle not starting, illumination of"car need service" warning light, illUmination of"acceleration

26   reduced" alerts, and vehicle not driving. Saidnonconformity(s) have substantially impaired the

27   vehicle's use, value, and/or safety to Plaintiff.

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              COMPLAINT FOR VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
 1       12. On each occasion Plaintiff delivered the Subject Vehicle for repair to Defendant or its

 2   authorized repair facility(s), the vehicle was returned to Plaintiff without properly repairing the

 3   nonconformity(s).

 4       13. Defendant or its authorized repair facility(s) have failed to service or repair the Subject

 5   Vehicle to warranty after a reasonable number of attempts; begin repairs within a reasonable time;

 6   and/or complete repairs within thirty (30) days so as to conform to the applicable warranties.

 7       14. The Subject Vehicle was not fit for the ordinary purposes for which such goods are used and

 8   was not ofthe same quality as those generally acceptable in the trade.

 9       15. The implied warranty of merchantability means and includes that the goods will

10   comply with each of the following requirements:(1)they would pass without objection in the trade

11   under the contract description;(2) they are fit for the ordinary purposes for which such goods are

12   used;(3)they are adequately contained, packaged, and labeled; and(4)they conform to the promises
13   or affirmations of fact made on the container or label.

14       16. Defendant breached the implied warranty of merchantability. Plaintiff is entitled to revoke

15   acceptance ofthe Subject Vehicle under the Act.

16       17. By Defendant failing to repair the nonconformity(s) as alleged above, or to make restitution

17   or to replace the Subject Vehicle, Defendant is in violation of its obligation under the Act.

18       18. Plaintiff is informed and believes and thereupon alleges that Defendant's refusal to replace

19   the vehicle or make restitution to Plaintiff was willful and not the result of a good faith and

20   reasonable belief that the facts imposing said statutory obligation were absent.

21       19. Pursuant to the Act, Plaintiff is entitled to restitution in an amount equal to the actual price

22   paid or payable by Plaintiff and collateral charges such as sales tax, license fees, registration fees,

23   and other official fees less an amount directly attributable to use by Plaintiff prior to the time Plaintiff

24   first delivered the vehicle for repair.

25       20. Plaintiff is entitled to recover incidental, consequential, and general damages, including, but

26   not limited to, reasonable repair, towing, and rental car costs actually incurred by Plaintiff.

27       21. Plaintiff is entitled to recover a civil penalty up to two times the amount of actual damages

28   for Defendant's willful refusal to comply with its statutory obligations under the Act.

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              COMPLAINT FOR VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
 1      22. Plaintiff is entitled to recover a sum equal to the aggregate amount of costs and expenses

 2   including attorney's fees based on actual time expended and reasonably incurred in connection with

 3   the commencement and prosecution of this action.

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 5   PLAINTIFF PRAYS FOR JUDGMENT AGAINST DEFENDANT AS FOLLOWS:

 6             1.   For actual damages, including collateral charges, and incidental, consequential, and

 7   general damages. To date, such damages include, but are not limited to, in amounts according to

 8   proof, down payment, monthly payments to date, plus vehicle registration, additional monthly

 9   finance payments, vehicle loan payoff, repair expense(s), rental expenses, expenses inadvertently

10   omitted herein, and other future expenses reasonably incurred by Plaintiff in connection with this

11   action;

12             2.   For a civil penalty under the Act, equal up to two times the amount ofactual damages;

13             3.   For rescission of the contract and restitution of consideration;

14             4.   For prejudgment interest on said sum from date of rescission;

15             5.   For attorney's fees and costs of suit reasonably incurred in connection with the

16   commencement and prosecution of this action; and

17             6.   For such other and further relief as the court deems proper.

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      Dated: April 28,2022                            NEAL & FHIMA,LLP
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                                                     By:
21                                                   Aaron . Fhima, Esq.
                                                     Tate C. Casey, Esq.
22                                                   Attorneys for Plaintiff,
                                                     KAIVWAR MAIIAL
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                COMPLAINT FOR VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
